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    14
         ROBERT BAGWELL

    15                        UNITED STATES DISTRICT COURT
    16
                            CENTRAL DISTRICT OF CALIFORNIA
    17
    18
         IN RE: FORD MOTOR CO. DPS6                 Case No.: 2:18-ML-02814-AB-FFM
    19   POWERSHIFT TRANSMISSION
         PRODUCTS LIABILITY                         NOTICE OF ERRATA TO THE
    20                                              DECLARATION OF STEVE
         LITIGATION                                 MIKHOV IN SUPPORT OF
    21   THIS DOCUMENT RELATES ONLY                 PLAINTIFFS’ CONSOLIDATED
                                                    MOTION FOR ATTORNEYS’ FEES
    22   TO:
    23   Fort, Sharon v. Ford Motor Company, et. Judge: Hon. Andre Birotte, Jr.
         al., 2:17-cv-06631-AB-FFM
    24
         Bagwell, Robert v. Ford Motor Company,
    25   et. al., 2:17-cv-06632-AB-FFM
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            NOTICE OF ERRATA TO THE DECLARATION OF STEVE MIKHOV IN SUPPORT OF PLAINTIFFS’
                              CONSOLIDATED MOTION FOR ATTORNEYS’ FEES
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     1   TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:
     2         PLEASE TAKE NOTICE that as a result of an inadvertent mistake, the
     3   caption page of the Declaration of Steve Mikhov in Support of Plaintiffs’
     4   Consolidated Motion for Attorneys’ Fees (Document No. 955-4) erroneously (1)
     5   stated that it was related to the matter of Pedante, Mark v. Ford Motor Company, et.
     6   Al., 2:17-cv-06656-AB-FFM; (2) included firm information for Kiesel Law LLP at the
     7   top; (3) indicated that the firms were attorneys for Plaintiff Mark Pedante; (4) titled
     8   the document (additionally in the footer); and (5) references in the brackets under the
     9   title of the Declaration the incorrect documents which were filed concurrently with
    10   the declaration.
    11         Plaintiffs thus concurrently file a corrected Declaration of Steve Mikhov in
    12   Support of Plaintiffs’ Consolidated Motion for Attorneys’ Fees that corrects the
    13   aforementioned deficiencies such that the caption indicates the Declaration is filed in
    14   the Bagwell and Fort matters and makes no other changes, including no substantive
    15   changes in the declaration itself.
    16
    17   Date: November 3, 2020                  KNIGHT LAW GROUP, LLP
    18
                                                 By: /s/Steve Mikhov______________
    19                                           Steve Mikhov (SBN 224676)
                                                 Roger Kirnos (SBN 283163)
    20                                           Attorneys For Plaintiffs,
                                                 SHARON FORT
    21                                           ROBERT BAGWELL
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            NOTICE OF ERRATA TO THE DECLARATION OF STEVE MIKHOV IN SUPPORT OF PLAINTIFFS’
                              CONSOLIDATED MOTION FOR ATTORNEYS’ FEES
